             Case 2:18-cr-00422-DJH Document 2014-1 Filed 12/08/23 Page 1 of 1


Trial Day    Date           Session         Copy / Original                                   Notes
Day 3     8/31/2023 Afternoon only          Copy
Day 4     9/12/2023 Morning and Afternoon   Copy            Afternoon copy only provide 18 pg. exerpt without witness testimony
Day 7     9/15/2023 Morning only            Original        Only provide 20 pg. exerpt without witness testimony
Day 17 10/12/2023 Morning only              Copy
Day 19 10/17/2023 Afternoon only            Copy
Day 22 10/20/2023 Morning only              Copy
Day 23 10/24/2023 Morning only              Copy
Day 24 10/25/2023 Morning and Afternoon     Copy
Day 25 10/26/2023 Morning and Afternoon     Copy
Day 26 10/27/2023 Morning and Afternoon     Copy
Day 27 10/31/2023 Morning and Afternoon     Copy
Day 28 11/1/2023 Morning and Afternoon      Copy
